                            Case 23-30132                 Doc 122         Filed 08/13/24 Entered 08/13/24 05:44:03                              Desc Main
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Class   Claim Number                          Claimant                      Amount         Secured Sum      Priority Sum      Undisputed Unsecured Sum      Undisputed Sum       Objection
  1          15        Wells Fargo Bank, N.A.                                $109,745.45      $109,745.45             $0.00                         $0.00          $109,745.45
  1          n/a       First International Bk                                $619,218.00      $619,218.00             $0.00                         $0.00          $619,218.00
  2          20        Ford Motor Credit Company LLC                          $66,942.55       $66,942.55             $0.00                         $0.00           $66,942.55
  3           1        ACAR Leasing LTD d/b/a GM Financial Leasing            $23,006.42            $0.00             $0.00                    $23,006.42           $23,006.42
  4           2        JPMorgan Chase Bank, N.A.                              $26,630.78            $0.00             $0.00                         $0.00                $0.00    DE #42
  4           3        JPMorgan Chase Bank, N.A.                              $22,932.82            $0.00             $0.00                         $0.00                $0.00    DE #42
  4           4        JPMorgan Chase Bank, N.A.                              $12,616.25            $0.00             $0.00                    $12,616.25           $12,616.25
  4           5        Mccody Concrete Products                                $6,306.72            $0.00             $0.00                         $0.00                $0.00    DE #42
  4           6        CM HEAVYMACHINERY, LLC                                $500,000.00            $0.00             $0.00                         $0.00                $0.00    DE #42
  4           7        Automotive & Industrial Distributors of Billings        $2,862.69            $0.00             $0.00                     $2,862.69            $2,862.69
  4           8        Discover Bank                                             $724.84            $0.00             $0.00                      $724.84               $724.84
  4           9        American Express National Bank                          $5,010.51            $0.00             $0.00                     $5,010.51            $5,010.51
  4          10        American Express National Bank                          $5,108.78            $0.00             $0.00                     $5,108.78            $5,108.78
  4          11        State of Delaware Division of Revenue                 $302,037.18            $0.00             $0.00                         $0.00                $0.00    DE #40
  4          12        Wells Fargo Bank, N.A.                                 $11,146.31            $0.00             $0.00                    $11,146.31           $11,146.31
  4          13        Capital One N.A.                                        $2,768.92            $0.00             $0.00                     $2,768.92            $2,768.92
  4          14        United Rentals (North America), Inc.                   $36,814.68            $0.00             $0.00                         $0.00                $0.00    DE #42
  4          16        Internal Revenue Service                               $11,131.02            $0.00             $0.00                    $11,131.02           $11,131.02
  4          17        Airgas USA, LLC                                         $1,844.33            $0.00             $0.00                         $0.00                $0.00    DE #42
  4          18        Airgas USA, LLC                                         $1,620.68            $0.00             $0.00                         $0.00                $0.00    DE #42
  4          19        Kirby-Smith Machinery, Inc.                            $93,305.97            $0.00             $0.00                         $0.00                $0.00
  4          21        Border States Industries, Inc.                        $407,163.77            $0.00             $0.00                         $0.00                $0.00    DE #44
  4          22        LightStream, a division of Truist Bank                 $40,012.26            $0.00             $0.00                    $40,012.26           $40,012.26
  4          24        Airgas USA, LLC                                        $12,853.26            $0.00             $0.00                         $0.00                $0.00    DE #46
  4          n/a       Brand Source/Citi Bank                                  $3,500.00            $0.00             $0.00                     $3,500.00            $3,500.00
  4          n/a       Citibank                                                $5,170.00            $0.00             $0.00                     $5,170.00            $5,170.00
  4          n/a       Mohela/Dept. of Ed.                                     $9,725.00            $0.00             $0.00                     $9,725.00            $9,725.00
  5          23        Lund Oil, Inc.                                         $65,000.00       $65,000.00             $0.00                         $0.00           $65,000.00
 n/a         16        Internal Revenue Service                              $120,615.94            $0.00      $120,615.94                    $120,615.94          $120,615.94
            Total                                                          $2,525,815.13      $860,906.00      $120,615.94                    $253,398.94        $1,114,304.94
